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1                          UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
2                                   FLORENCE DIVISION
3       JOHNATHAN LEWIS,
4                           Plaintiff,
5                 vs.               CASE NO. 4:23-cv-01720-JD
6       CIRCLE K STORES, INC.,
7                           Defendant.
8       VIDEOCONFERENCE
9       DEPOSITION OF:              JOSEPH J. CALANDRA, MD
10                                (Attending by VTC)
11      DATE:                     July 16, 2024
12      TIME:                       10:04 a.m.
13      LOCATION:                   Law Offices of
                                    Regus - Mount Pleasant
14                                  1240 Winnowing Way
                                    Suite 102
15                                  Mount Pleasant, South Carolina
16      TAKEN BY:                   Counsel for the Plaintiff
17      REPORTED BY:                JULIE L. BONOMO
18                                  (Attending by VTC)
19      ___________________________________________________
20
21
22
23
24
25

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1       of the next opinion in your report, you say, it is
2       possible that the patellar tendon ruptured first
3       and this is what caused him to fall.                            Do you still
4       hold that opinion today?
5                 A.       Yes according to his original history,
6       that's possible and -- yeah.
7                 Q.       Okay.      The next opinion in your report
8       at least is that it is likely that he did not -- he
9       being Mr. Lewis, did not have a normal patellar
10      tendon insertion, and I believe this contributed to
11      his injury.         Do you still hold that opinion?
12                A.       Yes.      When I say insertion, his distal
13      -- his whole patellar tendon is not normal.                               Okay,
14      yeah.     So right.          Yes.
15                Q.       I will ask you some questions in a
16      moment about the anatomy of the patellar tendon.
17                A.       Okay.
18                Q.       So, you know, pop quiz, be ready.                         You
19      said, the usual mechanism for a rupture of a
20      healthy patellar tendon is a forced extension of
21      the knee against a fixed flexion of the knee.                                And
22      you give an example of falling down the stairs
23      while trying to straighten the knee.                            Is that an
24      opinion that you hold in this case that that is the
25      usual mechanism of injury to patellar tendon?

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1                 A.       For a normal patellar tendon rupture,
2       forced extension against a fixed flexion.
3                 Q.       I apologize.            I'm just making some
4       notes here.
5                 A.       I guess another one would be you see it
6       in basketball player, young basketball players
7       where they -- sudden acceleration or sudden jump
8       would also do it.
9                 Q.       What do you mean by a sudden
10      acceleration or sudden jump?
11                A.       A sprint, they go from standing still
12      to a sprint and in the adolescents, often
13      they'll -- the patellar tendon itself won't
14      rupture, but they'll tear a piece of bone at the
15      insertion site will come off.
16                Q.       Okay.      All right.           So as I'm keeping
17      track here, I want to make sure that I'm
18      summarizing this accurately and not putting words
19      in your mouth.           We have your opinion about the
20      preexisting conditions, we have your opinion about
21      the patellar tendon possibly rupturing first, we
22      have your opinion that the -- that Mr. Lewis likely
23      did not have a normal patellar tendon insertion,
24      and we have your opinion about the usual mechanism
25      of rupture for a healthy patellar tendon.

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